 1

 2

 3

 4

 5

 6
                                   THE DISTRICT COURT OF GUAM
 7

 8    UNITED STATES OF AMERICA,                          CRIMINAL CASE NO. 19-00036
                     Plaintiff,
 9                                                       ORDER GRANTING MOTION FOR
                             vs.                         ORDER OF FORFEITURE (MONEY
10                                                       JUDGMENT)
      JESSE MENDIOLA BLAS,
11
                     Defendant.
12
            WHEREAS, on January 14, 2021, this Court, pursuant to Rule 32.2(b)(1) of the Federal
13
     Rules of Criminal Procedure determined that the Defendant, JESSE MENDIOLA BLAS,
14
     obtained $11,700.00 in proceeds from the offense alleged in Count 1 of the Indictment, for which
15
     the Defendant has been convicted; and
16
            WHEREAS, the United States has filed a Motion for Order of Forfeiture (Money
17
     Judgment) which would consist of a personal money judgment against the Defendant in the
18
     amount of $11,700.00; and
19
            WHEREAS, Rule 32.2(c)(1) provides that “no ancillary proceeding is required to the
20
     extent that the forfeiture consists of a money judgment;” and
21
            NOW THEREFORE, IT IS HEREBY ORDERED that the Defendant shall forfeit to
22
     the United States the sum of $11,700.00 pursuant to Title 18 United States Code, Sections
23
     981(a)(1)(c) and 28 U.S.C. § 2461.
24
            IT IS FURTHER ORDERED that the United States District Court shall retain
25
                                             1
26               Case 1:19-cr-00036 Document 154 Filed 01/22/21 Page 1 of 2
 1   jurisdiction in the case for the purpose of enforcing this Order; and

 2          IT IS FURTHER ORDERED that pursuant to Rule 32.2(b)(4), this Order of Forfeiture

 3   is final, and shall be made part of the sentence and included in the judgment; and

 4          IT IS FURTHER ORDERED that the United States may, at any time, move pursuant to

 5   Rule 32.2(e) to amend this Order of Forfeiture to substitute property having a value not to exceed

 6   $11,700.00 to satisfy the money judgment in whole or in part; and

 7          IT IS FURTHER ORDERED that the Clerk of the Court shall forward four certified

 8   copies of this Order to the United States Attorney’s Office, Districts of Guam and the Northern

 9   Mariana Islands, Attention: Assistant U.S. Attorney Laura C. Sambataro.

10          SO ORDERED.

11

12
                                                /s/ Frances M. Tydingco-Gatewood
13                                                  Chief Judge
                                                Dated: Jan 22, 2021
14

15

16

17

18

19

20

21

22

23

24

25
                                             2
26               Case 1:19-cr-00036 Document 154 Filed 01/22/21 Page 2 of 2
